                   Case 5:25-cv-00350-SPG-E           Document 19-1   Filed 03/11/25    Page 1 of 3 Page ID
                                                              #:106



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                     7 Attorneys for Defendant,
                       CHAD BIANCO, in his Official Capacity
                     8 as the Riverside County Sheriff
                     9
                                                     UNITED STATES DISTRICT COURT
                   10
                                                 CENTRAL DISTRICT OF CALIFORNIA
                   11
                   12
                         DAVID PHILLIP VALLEJOS,                          Case No. 5:25-CV-00350-SPG-E
                   13                                                     [Hon. Sherilyn Peace Garnett, Dist.
                                        Plaintiff,                        Judge; Hon. Charles F. Eick, M. Judge]
                   14
                                  vs.
                   15                                                     DECLARATION OF ABIGAIL J. R.
                      ROB BONTA, in his Official Capacity                 MCLAUGHLIN IN SUPPORT OF
                   16 as the Attorney General of the State of             DEFENDANT SHERIFF CHAD
                      California, and CHAD BIANCO, in his                 BIANCO’S EX PARTE
                   17 Official Capacity as the Riverside                  APPLICATION TO CONTINUE
                      County Sheriff,                                     HEARING ON PLAINTIFF’S
                   18                                                     MOTION FOR PRELIMINARY
                                   Defendants.                            INJUNCTION FROM APRIL 2, 2025
                   19                                                     TO APRIL 30, 2025 AND RELATED
                                                                          DEADLINES DUE TO LACK OF
                   20                                                     NOTICE
                   21
                                                                          Filed Concurrently with Ex Parte
                   22                                                     Application; [Proposed] Order
                   23                                                     Action Filed: February 7, 2025
                   24
                                  I, Abigail J. R. McLaughlin, declare as follows:
                   25
                                  1.    I am an attorney duly admitted to practice in all of the courts of the State
                   26
                         of California and I am a partner with Lewis Brisbois Bisgaard & Smith LLP, attorneys
                   27
                         of record for Defendant CHAD BIANCO, in his Official Capacity as the Riverside
LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                         154100998.1                                  1
ATTORNEYS AT LAW             McLAUGHLIN DECL. ISO DEFTS.' EX PARTE APP. TO CONTINUE HRG. ON PLTF.’S MTN. FOR P.I.
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                     1 County Sheriff (“Sheriff Bianco”) herein. The facts set forth herein are of my own
                     2 personal knowledge, unless otherwise stated that they are upon information and belief,
                     3 and if sworn I could and would competently testify thereto.
                     4            2.   Notice of Ex Parte Application & Plaintiff’s Opposition. On March
                     5 11, 2025, I called Plaintiff DAVID VALLEJOS (“Plaintiff”, proceeding pro se)
                     6 regarding Sheriff Bianco’s request to continue the hearing on Plaintiff’s Motion for
                     7 Preliminary Injunction (“Motion”). I explained to Plaintiff that Sheriff Bianco and I
                     8 had not been notified regarding the Court’s deadline for Oppositions to Plaintiff’s
                     9 Motion, as Sheriff Bianco had not yet appeared in this litigation, and I had been
                   10 recently retained. Nonetheless, Plaintiff stated that he would not agree to any
                   11 extension. I informed Plaintiff that we would then need to bring an emergency request
                   12 for relief as to such continuance.
                   13             3.   Immediately after that call, I sent a confirming e-mail to Plaintiff
                   14 regarding this Ex Parte Application and Plaintiff’s Opposition thereto. Plaintiff
                   15 confirmed again that he would oppose any request for continuance as to the Motion.
                   16 A true and correct copy of that e-mail correspondence is attached hereto as Exhibit
                   17 “A”.
                   18             4.   Sheriff Bianco’s Diligence & Lack of Notification of Opposition
                   19 Deadline. Upon information and belief, due to County of Riverside procedures, the
                   20 Riverside County Sheriff’s Professional Standards Bureau did not receive the
                   21 Plaintiff’s Complaint and Plaintiff’s Motion until February 25, 2025. A true and
                   22 correct copy of the stamped document reflecting the Riverside County Sheriff’s
                   23 Professional Standards Bureau receipt of these documents is attached hereto as
                   24 Exhibit “B”.
                   25             5.   On or about March 3, 2025, Sheriff Bianco officially retained LEWIS
                   26 BRISBOIS BISGAARD & SMITH LLP as his counsel regarding this matter.
                   27             6.   As of the date of this Ex Parte Application, Sheriff Bianco (and, of note,

LEWIS              28 Defendant Rob Bonta, in his Official Capacity as Attorney General of the State of
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& SMITH LLP
                         154100998.1                                  2
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                     1 California) has not made an appearance in this matter. Rather, his first appearance in
                     2 this matter is the timely filing of his Answer on this same date: March 11, 2025. Thus,
                     3 at no point prior to March 11, 2025 was Sheriff Bianco (or his counsel) receiving
                     4 notifications about this matter.
                     5            7.    Accordingly, on March 3, 2025, when this Court issued its Scheduling
                     6 Notice and Order regarding Plaintiff’s Motion, setting it for hearing on April 2, 2025
                     7 and, pursuant to Local Rules 7-9 and 7-10, scheduling defendants’ Opposition to be
                     8 due on March 12, 2025 and Plaintiff’s Reply, if any, to be due on March 19, 2025,
                     9 Sheriff Bianco (and his counsel) was not notified.
                   10             8.    Rather, on March 11, 2025, I was checking the docket to ensure Sheriff
                   11 Bianco’s Answer would be timely filed and discovered for the first time that
                   12 defendants’ Opposition to Plaintiff’s Motion was due on March 12, 2025 –
                   13 approximately twenty-four (24) hours later.
                   14             9.    While I had checked the docket prior to March 11, 2025, such was before
                   15 the Court issued its March 3, 2025 Scheduling Notice and Order regarding Plaintiff’s
                   16 Motion.          Additionally, due to the Clerk’s Notice of Clerical Error [Dkt. 11,
                   17 incorporated herein by reference], it was my understanding that Judge Eick was to
                   18 handle all preliminary matters and conduct all further matters, including first
                   19 reviewing Plaintiff’s Complaint for any deficiencies due to Plaintiff’s pro se status.
                   20 Thus, as no hearing had been scheduled on Plaintiff’s Motion and Plaintiff’s
                   21 Complaint was under review, I did not believe there were any pending deadlines on
                   22 Plaintiff’s Motion at that point in time.
                   23             I declare under penalty of perjury under the laws of the United States of
                   24 America that the foregoing is true and correct and that this declaration was executed
                   25 on this 11th day of March, 2025, at Los Angeles, California.
                   26
                   27                                                     /s/ Abigail J.R. McLaughlin
                                                                          Abigail J. R. McLaughlin, Esq.
LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                         154100998.1                                  3
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